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                              UNITED STATES DISTRICT COURT FOR THE
                                  SOUTHERN DISTRICT OF FLORIDA
                                          Miami Division

                                  Case Number: 19-24539-CIV-MORENO

  HAPPY TAX FRANCHISING, LLC,

                     Plaintiff,
  vs.

  THE JL HILL GROUP, LLC, and JAMEY
  HILL,

              Defendants.
  _________________________________________/

        ORDER OF CONTINUANCE AND ORDER REVISING PRETRIAL DEADLINES

            THIS CAUSE came before the Court upon Monica Poirier's Motion to Continue Trial
  and Extend Pretrial Deadlines (D.E. 173), filed on January 25, 2022.
            THE COURT has considered the motion, the pertinent portions of the record, and being
  otherwise fully advised in the premises, it is
            ADJUDGED that for good cause shown, the motion is GRANTED as follows:
            (1)      Trial Date – The trial is CONTINUED from the two-week period commencing
  February 28, 2022, to the two-week period commencing September 12, 2022, in Miami,
  Florida.
            (2)      Calendar Call – Counsel must appear at Calendar Call which shall take place
  before the undersigned at the Wilkie D. Ferguson Federal Courthouse, 400 North Miami Avenue,
  Courtroom 12-2, Miami, Florida 33128, on Tuesday, September 6, 2022, at 2:00 p.m.1 The
  parties need not appear at Calendar Call. At Calendar Call counsel may bring all matters relating
  to the scheduled trial date to the attention of the Court.
            (3)      Plaintiff's Witness and Exhibit Lists – Plaintiff shall electronically upload onto
  the case docket a copy of Plaintiff's Witness List and a copy of Plaintiff's Exhibit List no later
  than Wednesday, August 24, 2022, at 5:00 p.m.



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      Note Undersigned Judge has new courtroom assignment.
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               (a) Plaintiff's Witness List - Plaintiff's Witness List shall include all the witnesses,
                  both lay and expert, that Plaintiff intends to call at trial. Plaintiff's Witness List
                  shall briefly describe the nature of each witness’ testimony and whether such
                  witnesses will be testifying live or by deposition. Witnesses omitted from the list
                  will not be allowed at trial.
               (b) Plaintiff's Exhibit List - Plaintiff's Exhibit List shall include the exhibits that
                  Plaintiff intends to use at trial. Plaintiff's Exhibit List shall in consecutively
                  numbered paragraphs adequately describe the nature of each document listed.
                  The actual exhibits shall be pre-marked with corresponding numbers (e.g.
                  Plaintiff's Exhibit #1, Plaintiff's Exhibit #2, etc.) which numbers they will retain
                  through the end of trial. The exhibit list shall refer to specific items and shall not
                  include blanket statements such as all exhibits produced during depositions or
                  Plaintiff reserves the use of any other relevant evidence. Exhibits omitted from
                  the list will not be allowed at trial.
         (4)      Defendants' Witness and Exhibit Lists – Defendants shall electronically upload
  onto the case docket a copy of Defendants' Witness List and a copy of Defendants' Exhibit List
  no later than Friday, August 26, 2022, at 5:00 p.m.
               (a) Defendants' Witness List - Defendants' Witness List shall include only those
                  additional lay and expert witnesses not included on Plaintiff's Witness List.
                  Witnesses listed by Plaintiff will be available for both parties and should not be
                  re-listed on Defendants' Witness List. Defendants' Witness List shall briefly
                  describe the nature of each additional witness’ testimony and whether such
                  witnesses will be testifying live or by deposition.        Witnesses omitted from
                  Defendants' Witness List and not listed on Plaintiff's Witness List will not be
                  allowed at trial.
               (b) Defendants' Exhibit List - Defendants' Exhibit List shall include only those
                  additional exhibits that Defendants wish to introduce at trial which are not on
                  Plaintiff's Exhibit List. Defendants' Exhibit List shall in consecutively numbered
                  paragraphs adequately describe the nature of each document listed. The actual
                  exhibits shall be pre-marked with corresponding numbers (e.g. Defendants'
                  Exhibit #1, Defendants' Exhibit #2, etc.) which numbers they will retain through


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                   the end of trial. The exhibit list shall refer to specific items and shall not include
                   blanket statements such as all exhibits produced during depositions or Defendants
                   reserve the use of any other relevant evidence. Exhibits omitted from Defendants'
                   Exhibit List and not listed on Plaintiff's Exhibit List will not be allowed at trial.
         (5)       Pretrial Stipulation – Pursuant to Local Rule 16.1.E, the parties shall file a
  Pretrial Stipulation no later than Tuesday, August 30, 2022. The Pretrial Stipulation shall
  conform to the requirements of Local Rule 16.1.E. The parties shall attach to the Pretrial
  Stipulation copies of the witness and exhibit lists along with any objections allowed under Local
  Rule 16.1.E.9.
         (6)       Other Pretrial Deadlines
                       (a) Discovery – All non-expert discovery related to the claims against Third-
                           Party Defendant Monica Poirier must be completed by May 12, 2022.
                       (b) Summary Judgment – All motions for summary judgment relating to the
                           claims against Third-Party Defendant Monica Poirier must be filed by
                           May 19, 2022.
                       (c) Pretrial Motions – All other pretrial motions related to the claims against
                           Third-Party Defendant Monica Poirier shall be filed no later than July 12,
                           2022.
         (7)       PREVIOUS SCHEDULING ORDERS – This Order shall supersede only the
  inconsistent provisions of previous Scheduling Orders.



         DONE AND ORDERED in Chambers at Miami, Florida, this 1st of February 2022.




                                           ______________________________________
                                                 FEDERICO A. MORENO
                                                 UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of Record

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